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Attorney for Defendant


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF OREGON
                                 EUGENE DIVISION


  ST. CHARLES HEALTH SYSTEM, INC.,                 Case No. 6:21-cv-00304-MC
  an Oregon nonprofit corporation,                 DEFENDANT’S MOTION FOR
                                                   SANCTIONS
                 Plaintiff,
                                                   (Deschutes County Circuit Court, Case No.
          v.                                       21CV07024)

  OREGON FEDERATION OF NURSES
  AND HEALTH PROFESSIONALS,                        Oral Argument Requested
  LOCAL 5017, AFT, AFL-CIO,

                 Defendant.



       For the reasons set out below, Defendant Oregon Federation of Nurses and Health

Professionals (“OFNHP”) respectfully requests that this court sanction Plaintiff St. Charles

Health System, Inc. (“St. Charles”) for its efforts to obtain a Temporary Restraining Order

against OFNHP. OFNHP requests a finding that St. Charles’s conduct was in bad faith or

tantamount to bad faith, as well as an award of reasonable costs and attorney fees. St. Charles

opposes this motion.




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I.     INTRODUCTION

       OFNHP respectfully requests that this court issue sanctions pursuant to its inherent

authority against St. Charles for knowingly misleading this court about the court’s authority to

issue a Temporary Restraining Order at St. Charles’s request.

       It is a cornerstone of modern American labor law that Congress intentionally removed the

courts from labor disputes because Congress believed the courts had a history of abusing the

injunctive power. It is beyond dispute that only the National Labor Relations Board can ask

courts to remedy Unfair Labor Practices under the NLRA. It is beyond dispute that labor

injunctions, when they can issue at all, must comply with the Norris-LaGuardia Act. Yet St.

Charles asked this court to enjoin a strike without disclosing either of these bedrock principles.

Section III(B), infra.

       St. Charles’s motion was not a good faith argument to change the law, because St.

Charles withheld rather than discussed the controlling Supreme Court and statutory authorities.

Section III(C). St. Charles was not ignorant of these fundamental requirements, because St.

Charles is represented by one of the country’s top labor attorneys. The firm representing St.

Charles has also used this tactic before. When confronted with the controlling authorities, St.

Charles doubled down rather than withdrawing or modifying its request. Section III(D).

       St. Charles assumed a heightened duty of candor towards the court because it sought an

immediate TRO, knowing that posture would limit or possibly eliminate OFNHP’s ability to

research and respond to St. Charles’s motion. Section III(E). St. Charles’s failure to disclose

controlling authority could have led this court to disobey a direct command of Congress, one

meant to remedy a history of court abuse. Section III(F).


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       Given the procedural posture of this case, the court’s inherent authority is the appropriate

tool to address St. Charles’s misconduct. Section III(A). OFNHP asks for reasonable attorney

fees and costs – fees at the Economic Survey rate only for time spent opposing St. Charles’s

TRO. Section III(G).



II.    FACTS AND PROCEDURAL POSTURE

       A.      Statement of Facts

       In September 2019, the NLRB certified OFNHP as the bargaining representative for a

unit of about 150 technicians and therapists working for St. Charles. Transcript of Hearing on

Temporary Restraining Order, Docket No. 17, p. 13 (“Tr. 13”). Later that month, OFNHP filed a

notice with the FMCS that this court has found constituted a proper Section 8(d)(B) notice. Tr.

14-15; see 29. U.S.C. § 158(d)(B).

       The parties bargained for over a year, through December 3, 2020. Tr. 14; Declaration of

David Stylianou in Opposition to TRO, Docket No. 12 (“Stylianou Decl.”) ¶¶ 6-10. On

December 3, St. Charles cancelled the next bargaining session and refused to reschedule it.

Stylianou Decl. ¶¶ 10-14; Stylianou Exs. 5-7 see also Tr. 14-15. OFNHP repeatedly urged St.

Charles to return to the table, offering to meet evenings or weekends, to no avail. Id.

       In January and February, 2021, OFNHP noticed and engaged in informational picketing.

Tr. 14. St. Charles subsequently offered to bargain, but only through a mediator, only once, and

on the latest day the mediator offered. Stylianou Decl. ¶¶ 14-21; Stylianou Exs. 8-11; Tr. 14-15.

       On February 22, 2021, OFNHP notified St. Charles and the relevant government agencies

that it would go on strike March 4. Stylianou Ex. 12.




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         B.       Procedural Posture

         The next day, February 23, St. Charles filed an Unfair Labor Practice (“ULP”) charge

with the National Labor Relations Board (“Board”) alleging that OFNHP’s intended strike would

violate Section 8(d)(B) of the National Labor Relations Act (“NLRA”). Berry Decl. Ex. 2,

Docket No. 1-1, p. 26.1

         St. Charles asked the Board to seek an injunction against the strike under Section 10(j) of

the NLRA: “St. Charles seeks immediate 10j relief to prevent this strike until proper notice is

given.” Id. The Board has so far declined to seek injunctive relief. Tr. 13.

         At 4:49 p.m. on Thursday, February 25, St. Charles filed a petition for a Temporary

Restraining Order in Deschutes County Circuit Court. Docket No. 1-1, p. 2. The sole basis for

St. Charles’s Complaint was the alleged ULP. Docket No. 1-1, p. 4 citing 29 U.S.C.

§ 158(d)(B). Yet St. Charles did not disclose to the court the well-established doctrine that only

the Board can seek injunctive relief for a ULP. Docket No. 1-1, p. 13-15; Section III(B), infra.

Nor did St. Charles disclose that the federal Norris-LaGuardia Act and its Oregon equivalent set

out strict requirements for injunctions affecting labor disputes. Id.

         The next morning, Friday February 26 at 10:21 a.m., OFNHP removed to this court.

Docket No. 1.

         At noon, St. Charles filed in this court a “Supplemental Authority” with additional

argument in support of motion. Docket No. 2. The Supplemental Authority still did not disclose

the Board’s exclusive power or Norris LaGuardia. Id.




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 The date of filling is not on the copy of the charge that is in evidence but it can be found in the docket for the
charge. The charge number is 19-CB-273152, and its docket is at https://www.nlrb.gov/case/19-CB-273152.

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       At 1:49 p.m., St. Charles requested a hearing later that afternoon. Highet Ex. 1, p. 2-3.

OFNHP objected and requested an opportunity to file an opposition brief. Id. at p. 2. The court

scheduled a hearing for 9 a.m. Tuesday, March 2 and granted OFNHP permission to file its brief

by Monday at 9 a.m. Id. at p. 1-2.

       OFNHP’s response argued that under Section 10(j) of the NLRA, only the Board may

seek injunctive relief for a ULP. Docket No. 12, p. 4-9. OFNHP also argued St. Charles had not

satisfied the requirements of the Norris-LaGuardia Act. Id. at 9-11.

       At 3:01 p.m. St. Charles filed a Reply. Docket No. 14. As discussed further below, the

Reply still did not acknowledge binding Supreme Court precedent squarely rejecting St.

Charles’s position, even though OFNHP’s cited and explained those cases. Section III(B), infra.

       This court held a hearing on St. Charles’s Motion the morning of Tuesday, March 2. Tr.

3. The court twice asked counsel for St. Charles to name one case that authorized St. Charles to

seek the TRO it requested. Tr. 4, 7. Counsel could not do so. Tr. 7, see also tr. 4-8. The court

denied St. Charles’s Motion from the bench. Tr. 12-17.

       On March 4, St. Charles filed a Notice of Voluntary Dismissal. Docket No. 18. OFNHP

did not join in the Notice and has not entered into any agreement settling this case. Highet Decl.

¶¶ 4-5. OFNHP does not contend it can oppose the Notice of Dismissal, given that no Motion

for Summary Judgment or Answer has been filed. See FRCP 41(a)(1)(A)(i). However, as

discussed further below, the law is clear that dismissal does not terminate this court’s ability to

issue sanctions.

       On March 9, the court dismissed this case. Docket No. 19. Although OFNHP does not

believe that FRCP 54 necessarily requires submission of the instant motion within two weeks of

the court’s entry of dismissal, OFNHP has adhered to that timeline.


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       Meanwhile, on March 4, the employees represented by OFNHP did begin the strike

described in their February 22 notice. Highet Decl. ¶ 3. On the night of March 12, OFNHP and

St. Charles entered into a “Return to Work” agreement. Highet Decl. ¶ 4; Highet Ex. 2. Under

the agreement, OFNHP-represented employees will return to work through at least the end of

March. Id. St. Charles will meet with OFNHP to bargain on eight dates during that time. Id.

The agreement does not address this case. Id.




III.   ARGUMENT

       A.      This court has inherent authority to sanction St. Charles’s misconduct.

               1.      Inherent authority is the appropriate mechanism in this case.

       OFNHP requests that this court sanction St. Charles using the court’s inherent authority.

“Federal courts possess certain inherent powers, not conferred by rule or statute, to manage their

own affairs so as to achieve the orderly and expeditious disposition of cases. That authority

includes the ability to fashion an appropriate sanction for conduct which abuses the judicial

process.” America Unites for Kids v. Rousseau, 985 F.3d 1075, 1088 (9th Cir. 2021) quoting

Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) and other cases (internal

citations and quotations omitted).

       Where possible, the court should consider using rules or statutes to address misconduct.

America Unites for Kids, 985 F.3d at 1088. “But if in the informed discretion of the court,

neither the statute nor the Rules are up to the task, the court may rely on its inherent power.” Id.

quoting Chambers v. NASCO, 501 U.S. 32, 50 (1991). One rule and one statute suggest that a

sanction and fee award are appropriate in this case, but do not directly apply due to the abridged

nature of the proceedings.
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       The rule is FRCP 11. Rule 11 requires an attorney “signing, filing, submitting or later

advocating” for a pleading to certify that “the claims, defenses, and other legal contentions are

warranted by existing law or a nonfrivolous argument for extending, modifying or reversing

existing law.” FRCP 11(b) and 11(b)(2). Here, St. Charles submitted and/or later advocated for

several pleadings that violated the Rule 11 standard. See Section III(B), infra. However,

OFNHP can only move for Rule 11 sanctions after giving St. Charles a 21-day safe harbor in

which to withdraw its pleading, and the court had already ruled on St. Charles’s pleading within

five days of when it was first filed. FRCP 11(c)(2); Docket No. 1, Tr. 3, 12-17.

       The statute is Norris-LaGuardia. Both Section 7 of the federal Norris-LaGuardia and the

corresponding state statute provide for attorney fees. 29 U.S.C. § 107; ORS 662.090(2).

       No temporary restraining order or temporary injunction shall be issued except on
       condition that complainant shall first file an undertaking with adequate security in an
       amount to be fixed by the court sufficient to recompense those enjoined for any loss,
       expense, or damage caused by the improvident or erroneous issuance of such order or
       injunction, including all reasonable costs (together with a reasonable attorney’s fee) and
       expense of defense against the order or against the granting of any injunctive relief
       sought in the same proceeding and subsequently denied by the court.


29 U.S.C. § 107 (emphasis added).

       That Congress provided for fee awards shows its recognition that improper injunctive

proceedings injure a union in and of themselves, on top of the harm caused by any resulting

injunction. However, the current law in the Ninth Circuit is that Section 7 does not by itself

provide for recovery absent the filing of a bond. Benz v. Compania Naviera Hidalgo, S.A., 205

F.2d 944, 948 (9th Cir. 1953), affirmed on other grounds Benz v. Compania Naviera Hidalgo,

S.A., 353 U.S. 138 (1957). OFNHP reserves its right to argue on appeal that Benz should be

overruled, but believes it binding on this court. St. Charles did not file a bond in this case.


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         Thus, OFNHP believes that the policies underlying Rule 11 and Norris-LaGuardia

counsel in favor of a fee award in this case. However, OFNHP moves for sanctions pursuant to

the court’s inherent authority.



                2.      St. Charles’s voluntary dismissal does not preclude sanctions.

         St. Charles’s voluntary dismissal of its complaint does not terminate this court’s ability to

issue sanctions. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395-96 (1990); Allen v. Exxon

Corp. (In re Exxon Valdez), 102 F.3d 429, 431 (9th Cir. 1996). As explained by the Supreme

Court in the Rule 11 context:

         It is well established that a federal court may consider collateral issues after an action is
         no longer pending. For example, district courts may award costs after an action is
         dismissed for want of jurisdiction. . . . Like the imposition of costs, attorney’s fees, and
         contempt sanctions, the imposition of a Rule 11 sanction is not a judgment on the merits
         of an action. Rather, it requires the determination of a collateral issue: whether the
         attorney has abused the judicial process, and, if so, what sanction would be appropriate.
         Such a determination may be made after the principal suit has been terminated.

Cooter & Gell, 496 U.S. at 395. A court “has jurisdiction to make orders necessary for the

maintenance of orderly procedure” regardless of whether it has jurisdiction over the merits of an

action. In re Exxon Valdez, 102 F.3d at 431.

         OFNHP does not believe a specific deadline applies to its motion. See 496 U.S. at 398.

However, OFNHP has followed the requirements of FRCP 54 and the corresponding Local

Rules.



                3.      Standard of review.

         A court using its inherent authority to sanction must first decide whether to issue

compensatory sanctions, punitive sanctions, or both. America Unites for Kids, 985 F.3d at 1089.

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Punitive sanctions aim to deter future misconduct and require criminal-type procedural

protections. Id. OFNHP requests “compensatory or remedial measures” only, which do not

require criminal-type procedures. Id.

       Fees awarded as part of a compensatory sanction must be “calibrated to the damages

caused by the bad-faith acts on which it is based.” Goodyear Tire & Rubber, 137 S. Ct. at 1186.

This requires application of a “but-for test” – those fees caused by the misconduct can be

compensated, but “fees that would have been incurred without the misconduct” cannot. Id. at

1186-87. In the event that a plaintiff initiates a case in bad faith, the full cost of defending the

case may meet the but-for test. Id. at 1187-88. As discussed further below, OFNHP requests

fees for defending the TRO but not for submitting this Motion. See Section III(G)(2), infra;

Highet Exs. 9-11.

       When issuing sanctions pursuant to its inherent powers, a court “must make an explicit

finding that the sanctioned party’s conduct constituted or was tantamount to bad faith.” America

Unites for Kids, 985 F.3d at 1090 (internal citations and quotations omitted, emphasis added).

Bad faith includes “conduct done vexatiously, wantonly, or for oppressive reasons.” Id.

       OFNHP does not request such a finding lightly. However, for the reasons below, it is

warranted in this case.



       B.      St. Charles misled the court.

       There can be no dispute that only the Board may ask any court to enjoin an Unfair Labor

Practice. The Supreme Court has held or confirmed on at least four occasions that the NLRA

does not create a private right of action – only the Board can ask a court for relief of a ULP.

Burlington Northern Railway Co. v. Brotherhood of Maintenance of Way Employees, 481 U.S.

429, 448 (1987)(“Burlington Northern”); Wisconsin Department of Industrial, Labor & Human
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Relations v. Gould, Inc., 475 US 282, 286 (1986); Garner v Teamsters Union, 346 U.S. 485,

489-91 (1953); Amalgamated Utility Workers v. Consolidated Edison Co., 309 U.S. 261, 261-62,

264-68 (1940); see also 29 U.S.C. § 160(j), OFNHP Opposition, p. 4 to 8. The Ninth Circuit

reconfirmed the principle firmly in 1997 and 2000. Burlington Northern & Santa Fe Railway v.

International Brotherhood of Teamsters Local 174, 203 F.3d 703, 708-09 (9th Cir. 2000)

(“BNSF”); San Antonia Community Hospital v. Southern California District Council of

Carpenters, 125 F.3d 1230, 1235 (9th Cir. 1997).

       Even if the NLRA did not forbid St. Charles’s request outright, there is no dispute that

the Norris-LaGuardia Act and Oregon’s nearly identical statute would control the request, and

they would require the court to make a number of specific findings before granting it. 29 U.S.C.

§§ 107, 108; ORS 662.080 et seq.; BNSF, 203 F.3d at 709. Norris-LaGuardia requires “strict

conformity” with its procedures. 29 U.S.C. § 101.

       St. Charles misled the court about these binding authorities in a number of ways.

       First, St. Charles filed an initial Motion for a TRO without so much as alluding to the

Board’s exclusive authority or the existence of the state or federal Norris La-Guardia acts. See,

e.g., Docket No. 1-1, p. 13-15. Indeed, although St. Charles had cited 10(j) in its request for

injunctive relief of the Board, it avoided mentioning the statute in its opening brief. Compare id.

with Docket No. 1-1, p. 26 (ULP states “St. Charles seeks immediate 10j relief to prevent this

strike until proper notice is given”).

       Second, St. Charles filed a “Supplemental Authority” in this court without mentioning

either requirement. Docket No. 2.

       Third, in its Reply, St. Charles ignored and contradicted binding Supreme Court

precedent even after OFNHP’s brief pointed that precedent out to St. Charles. With respect to


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the Board’s exclusive authority, St. Charles argued that a 1978 case, Sears, had limited

preemption law in such a way that the Board’s authority was no longer exclusive in this case.

Reply, p. 11-13 citing Sears, Roebuck & Co. v. San Diego County District Council of

Carpenters, 436 U.S. 180, 188 (1978). Yet the Supreme Court twice reaffirmed the Board’s

exclusive authority after Sears. Burlington Northern, 481 U.S. at 448 (1987); Gould, 475 U.S. at

286-87 (1986).

       Burlington Northern and Gould are binding Supreme Court precedent holding precisely

the opposite of what St. Charles argued. Burlington Northern, 481 U.S. at 448; Gould, 475 U.S.

at 286-87. They were issued after the cases St. Charles claimed support its position. Compare

id. (dated 1986 and 1987) with Reply, p. 11-13 (relying on cases from 1970s). OFNHP cited and

explained the later cases in its Opposition. Opposition, p. 5-6, 8 citing Burlington Northern, 481

U.S. at 448 and Gould, 475 U.S. at 286-87. Yet St. Charles did not acknowledge either in its

Reply. Reply, p. 11-13.

       Finally, St. Charles appeared at oral argument still unprepared to state why the court

could issue a TRO at St. Charles’s request. Tr. 4-8.



       C.        St. Charles was not making a good faith argument to change the law.

       In communications between counsel, St. Charles has claimed it was seeking an

“extension” of existing law. FRCP 11 does permit counsel to make “nonfrivolous argument[s]

for extending, modifying, or reversing existing law.” FRCP 11(b)(2). However, that is not what

St. Charles did.

       St. Charles’s first two briefs studiously ignored the very existence of Section 10(j), the

exclusivity of the Board’s role, and the Norris-LaGuardia Act. Disclosing binding precedent and


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arguing it should be changed is permitted by Rule 11; failing to disclose binding precedent is not.

Jorgenson v. County of Volusa, 846 F.2d 1350, 1352 (11th Cir. 1988).

         Even after OFNHP disclosed the controlling authorities to the court, St. Charles’s third

brief failed to engage honestly the question of the Board’s exclusive authority. St. Charles

effectively asked this court to extrapolate from Sears to the overruling of Garner and

Amalgamated Utility Workers – something that only the Supreme Court could do. Contrast

Reply, p. 11-13 with Garner, 346 U.S. at 489-91; Amalgamated Utility Workers, 309 U.S. at

261-62, 264-68. However, St. Charles did not acknowledge this was what it was asking, and did

not acknowledge Garner and Amalgamated Utility Workers held the Board’s authority was

exclusive.2

         Worse, St. Charles utterly ignored the fact that, after Sears, the Supreme Court twice

reconfirmed its earlier holdings. Burlington Northern, 481 U.S. at 448 (1987); Gould, 475 U.S.

at 286-87 (1986). St. Charles did not acknowledge these controlling cases. Reply, p. 11-13.

Indeed, St. Charles has yet to acknowledge to this court that controlling precedent holds only the

Board may seek injunctive relief of a ULP. See, e.g., Reply, p. 11-13; Tr. 4-8.



         D.       St. Charles knew it was misleading the court.

         St. Charles has not argued to OFNHP that it was unaware of the exclusivity of the

Board’s authority or the existence of Norris-LaGuardia. However, some of the court’s




2
  St. Charles’s only statement about these cases was that they “did not involve matters of public safety and welfare.”
Reply, p. 13 FN 8. Yet St. Charles’s claim in this case was not based on a breach of “public safety and welfare” or
any other state law. It was based solely on an Unfair Labor Practice theory, which is precisely what the Supreme
Court held only the Board can pursue. Compare Docket No. 1-1, p. 4 (asserting only breach of NLRA) with Garner,
346 U.S. at 489-91 (only Board may enforce ULP); Amalgamated Utility Workers, 309 U.S. at 261-62, 264-68
(same). To hold that a private party could seek injunctive relief for a ULP would require overturning Garner and
Amalgamated Utility Workers, among other cases.

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statements during oral argument suggest the court might be concerned that this is the case. Tr. 4.

There are several reasons the court can rest assured that St. Charles’s was aware of the binding

authorities it failed to disclose.

         First, St. Charles is represented by extremely experienced and competent counsel. Its

lead counsel is Mark A. Hutcheson of Davis Wright Tremaine. Hutcheson’s biography suggests

he has been practicing for over 50 years – he graduated Order of the Coif from the University of

Washington Law School in 1967. Highet Ex. 3, p. 4. Hutcheson has been named among “The

Nation’s 100 Most Powerful Employment Attorneys”, “‘Best Lawyers in America’ in Labor and

Employment Law”, “‘America’s Leading Lawyers for Business’ in Labor and Employment

(Washington)” and “Senior Statemen.” Id. at p. 5. He has extensive experience with collective

bargaining law. Id. p. 2-3.

         There is simply no way that one of the nation’s top labor lawyers is unaware of the

Norris-LaGuardia Act or the Board’s exclusive authority in ULP cases.

         In addition, this is the second time in the past year that Davis Wright Tremaine has

sought injunctive relief for an allegedly faulty strike notice. Highet Ex. 4; Highet Ex. 5, p. 4, 6-

7, 14-15; Providence Health & Services – Washington v. Teamsters Local 959, 3:20-cv-0067-

SLG (D. Alaska 2020). In Providence, a hospital represented by Davis Wright Tremaine sought

a TRO arguing that a health care strike during COVID threatened the public health and that the

defendant union had failed to provide an exact start time on its 8(g) notice. 3 Id.

         The fact that Davis Wright Tremaine has used this tactic before supports the inference

that the firm’s failure to disclose binding authority was part of an intentional abuse of the courts




3
 The plaintiff employer voluntarily dismissed its complaint the same day that it was filed, prior to any ruling.
Highet Ex. 5.

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to interfere with a employees’ union activity rather than an unintentional omission due to a lack

of time.4

         A third reason the court can infer St. Charles intentionally mislead the court is its reaction

when OFNHP drew the relevant authority to its attention. St. Charles did not withdraw its

request for injunctive relief. It did not acknowledge this court was bound by existing Supreme

Court precedent such as Burlington Northern and Gould, or set out an argument as to why the

Supreme Court should reverse those cases. Instead, St. Charles asserted to this court that the

court had authority to do what the Supreme Court and Congress have clearly forbidden. St.

Charles doubled down rather than changing course.



         E.        St. Charles’s request for a TRO heightened its duty of candor.

         Attorneys are always officers of the court and always have a duty of candor. However,

this duty is at its “apex” in TRO proceedings, because opposing counsel may have limited or no

ability to respond. ST Shipping & Transportation, Inc. v. Golden Fleece Maritime, Inc., 2008

U.S. Dist. Lexis 68799 (S.D.N.Y. 2008)(“apex” in ex parte proceedings); Jorgenson, 846 F.2d at

1352 (TRO proceedings); see also Maine Audubon Society v. Purslow, 907 F.2d 265, 268-69

(1st Cir. 1990).

         For example, in Jorgenson the Eleventh Circuit held:

         The appellants had a duty to refrain from affirmatively misleading the court as to
         the state of the law. They were not relieved of this duty by the possibility that
         opposing counsel might find and cite the controlling precedent, particularly
         where, as here, a temporary restraining order might have been issued ex parte.



4
 OFNHP does not ask this court to design a sanction to deter Davis Wright Tremaine from using the TRO tactic
again. When the court uses its inherent authority to sanction, it must either limit itself to compensatory remedies or
follow heightened procedural requirements. See Section III(A)(3), supra. OFNHP submits Davis Wright
Tremaine’s past behavior only as evidence of its intent in this case.

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Jorgenson, 846 F.2d at 1352 (emphasis added).

       The First Circuit has also explained the concern well:

       Attorneys are officers of the court and judges must rely on them in a number of
       ways. In the usual circumstance, the presence of opposing counsel creates a built-
       in system of checks and balances which aids the judge in defining problem areas.
       Where counsel appears ex parte, however, the customary checks and balances do
       not pertain – and the court is entitled to expect an even greater degree of
       thoroughness and candor from unopposed counsel than in the typical adversarial
       setting.

Maine Audubon Society, 907 F.2d at 268.

       St. Charles, like the plaintiff in Jorgenson, misled the court in an application for a TRO

that might have been heard in an ex parte context. Moreover, after counsel entered an

appearance for OFNHP, St. Charles asked the court to schedule a hearing within hours, before

OFNHP could file a response. Highet Ex. 1, p. 2-3. By asking the court to act without input

from opposing counsel, St. Charles assumed a heightened duty to disclose the controlling

authority opposing counsel had not yet been able to brief.



       F.         St. Charles asked this court to defy a remedial statute.

       The need for sanctions is also heightened in this case because St. Charles withheld not

only controlling precedent but a direct command of Congress intended to end a history of

judicial abuse.

       As OFNHP previously explained, Norris-LaGuardia and the NLRA sought to end an era

of “government by injunction” when employers could disrupt and stifle union activity using

injunctions and restraining orders. BNSF, 203 F.3d at 707 (internal quotations and citations

omitted); Response to TRO, Docket No. 12, p. 4-6. Congress focused on procedural reforms and

strict limits on judicial authority because it found what it described “unequivocally as abuses of

judicial power.” BNSF, 203 F.3d at 709 (internal citations and quotations omitted); see also
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Garner, 346 U.S. at 490; Amalgamated Utility Workers, 309 U.S. at 265; BNSF, 203 F.3d at 707-

09. Congress found the courts “purposefully misconstrued” and eviscerated the laws they passed

to protect unions. Burlington, 481 U.S. at 438-39 quoting 75 Cong. Rec. 5478 (1932).

       Gentlemen, there is one reason why this legislation is before Congress, and that
       one reason is disobedience of the law on the part of whom? On the part of
       organized labor? No. Disobedience of the law on the part of a few Federal
       judges. If the courts had been satisfied to construe the law as enacted by
       Congress, there would not be any need of legislation of this kind.

Id.

       Thus, St. Charles sought to induce this court to engage in conduct Congress had found to

be lawless; to return to a time when unelected judges abrogated the will of a co-equal branch of

government. That is an oppressive and improper purpose. See America Unites for Kids, 985

F.3d at 1090.



       G.       OFNHP requests reasonable fees.

                1.     OFNHP requests Economic Survey rates.

       As discussed above, courts may award reasonable fees as compensation for harm actually

caused by sanctioned misconduct. See Section III(A)(3), supra. OFNHP requests fees and costs

for defending against St. Charles’s motion, but not for submitting this motion. It asks that the

court use market survey rates and provides detailed accounting of time and costs. The resulting

total is $16,951.58 in fees and costs, combined.

       OFNHP requests hourly rates of $349 for attorneys Catherine Highet and Sam

Lieberman, and $159 for paralegal Chris Knudtsen.




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           The District of Oregon instructs parties to begin any fee petition using the Oregon State

Bar’s Economic Survey. LR 54-3(a); Message from the Court Regarding Fee Petitions.5

OFNHP believes lodestar factors would be appropriate in this case. For example, as will be

obvious from the time records, lead counsel for OFNHP had to drop all work and personal

matters to respond to St. Charles’s Motion. Highet Ex. 9. OFNHP reserves the right to argue

lodestar factors further should St. Charles argue for a deviation from the Economic Survey.

However, as its initial request, OFNHP simply asks for Economic Survey rates.

           Lead counsel for OFNHP, Catherine Highet, has been admitted to practice for 17 years

and practices in Portland, Oregon, where OFNHP is based. Highet Decl. ¶ 9; Ex. 6. According

to the Economic Survey, the median rate for Portland attorneys with 16-20 years’ experience was

$325 per hour in 2017. Oregon State Bar 2017 Economic Survey, p. 39.6 According to the U.S.

Bureau of Labor Statistics, that is equivalent to $349.20 today. 7

           Attorney Sam Lieberman also assisted with OFNHP’s defense. He is a Senior Associate

Director in the Legal Department of the American Federation of Teachers, with which OFNHP is

affiliated. Highet Ex. 7. Lieberman is based in the District of Columbia. Id. The cost of living

is significantly higher in Washington, D.C. than in Portland, Oregon, 8 but since the Economic




5
    Available at https://www.ord.uscourts.gov/index.php/rules-orders-and-notices/notices/fee-petitions.
6
    Available at https://www.osbar.org/surveys_research/snrtoc.html#economicsurveys.
7
 See CPI Inflation Calculator, https://www.bls.gov/data/inflation_calculator.htm. Dates used were July 2017 (the
halfway point of the year) and February 2021.
8
    For example, compare the Office of Personnel Management’s cost of living adjustments for the two areas:
Portland: https://www.opm.gov/policy-data-oversight/pay-leave/salaries-wages/salary-
tables/21Tables/html/POR.aspx
District of Columbia: https://www.opm.gov/policy-data-oversight/pay-leave/salaries-wages/salary-
tables/21Tables/html/DCB.aspx

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Survey does not include data for Washington, D.C., OFNHP will use Portland rates. This results

in the same hourly rate for Lieberman as for Highet, $349.

            Paralegal Chris Knudtsen also performed substantial research and drafting work for

OFNHP’s opposition. Knudtsen has a Paralegal Certification and eight years of experience.

Highet Ex. 8. His experience includes substantial labor law research and litigation work, as can

be seen by the research and drafting he performed in this case. Highet Decl. ¶ 11; Highet Ex. 11.

            The Economic Survey does not include paralegals, but this court has used the National

Legal Assistant Association’s Market Survey as a benchmark. OmniGen Research LLC v.

Yongqiang Wang, 2017 U.S. Dist. 189543 (D. Or. 2017), ¶¶ 320-23. The mean billing rate for

the relevant region was $146 in 2016, which is equivalent to $159.58 in 2021.9 Id.



                   2.     OFNHP submits detailed, reasonable time records.

            The following chart summarizes the costs and fees OFNHP is requesting:

                                       Actual Hours /  Hours / Costs    Total
                        Hourly Rate    Costs           Requested        Requested
    Highet                       $ 349            35.9            32.4       $ 11,307.60
    Lieberman                    $ 349            10.2              8.2       $ 2,861.80
    Knudtsen                     $ 159            14.1            12.4        $ 1,972.13
    Total Hours                                   60.2            53.0

    Costs                                                $ 810.05                $ 810.05               $ 810.05

    Total                                                                                           $ 16,951.58
    Requested


Highet Ex. 13.




9
  In OmniGen this court reduced certain paralegals’ rates to $125 per hour, because they failed to provide their
training and experience. OFNHP has submitted Knudtsen’s training and experience. Inflation calculated at BLS
CPI Inflation Calculator, supra, from July 2016 to February 2021.

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       Detailed documentation of the hours spent and requested is attached as Exhibits 9

through 11 of the Highet Declaration. Time for Highet and Knudtsen was tracked

contemporaneously using an electronic timer. Lieberman does not track his time

contemporaneously, as he is salaried. Therefore, OFNHP submits only that portion of his time

Lieberman could verify through written records such as Westlaw search histories.

       OFNHP has reduced some times to ensure that what it requests of the court is highly

reasonable. The reductions are noted in the exhibits. The time for which compensation is

requested is 88% of that actually worked. As noted above, OFNHP has not asked for time

preparing the instant motion.

       Documentation of OFNHP’s costs is attached as Exhibit 12 of the Highet Declaration.



                                         CONCLUSION

       For all the foregoing reasons, OFNHP respectfully request that this court find that St.

Charles acted in bad faith by asking the court to issue an injunction Congress had forbidden it to

issue without disclosing the controlling law. OFNHP requests $16,951.58 in attorney fees and

costs as a compensatory sanction pursuant to the court’s inherent authority.



                                                     Respectfully submitted,

Dated: March 23, 2021                                HIGHET LAW LLC

                                             By:      s/ Catherine A. Highet
                                                     Catherine A. Highet (OSB No. 071306)
                                                     Attorney for Defendant




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